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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


  ARNALDO      ROJAS,                                    CivilAction No.:

                              Plaintiff,

                -against-                                 COMPLAINT
                                      Plaintiff,

  MERCANTILE ADJUSTMENT BUREAU,                LLC,    DEMAND FOR JURY TRIAL

                              Defendant(s),


         Plaintiff, ARNALDO ROJAS ("Plaintiff'), by and through his attorneys, M.

  Harvey Rephen & Associates, P.C by Edward B. Geller, Esq., P.C., Of Counsel,

  as and for his Complaint against the                Defendant(s), MERCANTILE

  ADJUSTMENT BUREAU, LLC (hereinafter referred               to as "Defendant(s)"),
  respectfully sets forth, complains and alleges, upon information and belief, the

  following:

                   INTRODUCTION/PRELI MINARY STATEM E NT

         1.     Plaintiff brings this action on his own behalf for damages and

  declaratory and injunctive relief arising from the Defendant's violation(s) of $1692

  et seq. of Title 15 of the United States Code, commonly referred to as the Fair

  Debt Collections Practices Act ('FDCPA').

                                           PARTIES

         2.     Plaintiff ARNALDO ROJAS is a resident of the State of New York,

  residing at 33 Argyle Road, Brooklyn, New \rbrk 11218.
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         3.     Defendant MERCANTILE ADJUSTMENT BUREAU, LLC is a-New

  York limited liability corporation with their main office at 165 Bell Drive, Suite 100,

  Williamsville, New York 14221.

         4.     Plaintiff is a "consume/'as the phrase is defined and used in the

  FDCPA under 15 USC $1692a(3).

         5.     The Defendant is a "debt collecto/' as the phrase is defined and

  used in the FDCPA under 15 USC $1692a (6).

                             JURTSDICTION ANp VENUE

         6.     The Court has jurisdiction over this matter pursuant to 29 USC

  $1331, as well as 15 USC S1692 ef seg. and 20 U.S.C. S2201. lf applicable, the

  Court also has pendent jurisdiction over the State law claims in this action

  pursuant to 28 U,S.C. S1367(a).

         7.     Venue is proper in this judicial district pursuant to 2E U.S.C. S

  13e1(bX2).

                            FACTT.IAL ALLEgATTONS

         8.     Plaintiff repeats, reiterates and incorporates the allegations

  contained in paragraphs numbered '01" through "7" herein with the same force

  and effect as if the same were set forth at length herein.

         9.     Upon information and belief, Defendant, on behalf of a third-party,

  began efforts to collect an alleged consumer debt from the Plaintiff.

         10.    Upon information and belief, and better known to the Defendant,

  the Defendant began its collection efforts and campaign of communications with
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  the Plaintiff on or about April 1 , 2016 by reporting an account to national credit

  bureaus.

          11.    On or about April 15, 2016, Plaintiff sought representation for credit

  assistance from S & W Protection and Management, lnc. (hereinafter referred to

  as "S & W').

          12.    On May 4,2016, Ms. WandaFrazzier, an employee of S & W

  placed a telephone callto Defendant.

          13.    Ms. Frazzier was connected to a female representative who

  identified herself as "Karen."

          14.    Ms. Frazzier informed "Karen" that Plaintiff wished to dispute the

  balance claimed due on his account,

          15.    "Karen" informed Ms. Frazzier that Plaintiff would need to write to

   Defendant in order to register a consumer dispute, as opposed to communicating

   his dispute verbally.

                              FIRST CAUSE OF ACTION
                              (Violations of the FDCPA)

          16.    Plaintiff repeats, reiterates and incorporates the allegations

  contained in paragraphs numbered "1" through "15" herein with the same force

  and effect as if the same were set forth at length herein.

          17.    15 USC $1692 e    -preface and e (10) prohibits the use of any false,
  deceptive or misleading representations in connection with the collection of a

  debt.

          18,    Defendant violated 15 USC 51692 e     -   preface and e (10) on May 4,
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  2016 when Defendant's agent stated falsely to Plaintiff's representative that

  Plaintiff's verbal consumer dispute was insufficient and that Plaintiff must dispute

  in writing. As Defendant knows, or should know, pursuant to Danq Clark        v.


  Absolute Collection Seruice. lnc., the Fourth Circuit of the U.S. Court of Appeals

  found that subparagraph (3) of 15 USC $1692 g (a) of the FDCPA, as written,

  triggers statutory protections for consumers, affirming the right of con$umers to

  challenge a debt orally without imposing a written requirement. The Court found

  further that, "Once a consumer disputes a debt orally, under section 1692 g

  (aXS), a debt collector cannot communicate that consumer's credit information to

  others without disclosing the dispute."

         19.    15 USC 51692 f     -   preface prohibits a debt collector from using any

  unfair or unconscionable means in connection with the collection of a debt.

         20.    The Defendant violated 15 USC $1 692t preface when it unfairly

  implements a policy which prevents, rejects or refuses to accept verbal consumer

  disputes and states that a written statement is required in order to be reflected on

  a consumer's credit report.

         21.    As a result of Defendant's violations of the FDCPA, the Plaintiff has

  been damaged and is entitled to damages in accordance with the FDCPA.

                            DEMAND FOR TRIAL BY JURY

         22.    Plaintiff hereby respectfully requests a trial by jury for all claims and

  issues in its Complaint to which it is or may be entitled to a jury trial.
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                              PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment from             the Defendants    as

  follows:

               A.    For actual damages provided and pursuant to 15 USC
                     $16e2k (a) (1);

               B.    For statutory damages provided and pursuant to 15 USC
                     $16e2(2XA);

               C.     For statutory damages provided and pursuant to 15
                      uscs16e2k(2)(B);

               D.    For attorneys'fees and costs provided and pursuant
                     tol5USC$16e2(aX3);

               E.    A declaration that the Defendant's practices violated the
                     FDCPA;

               F.    For any such other and further relief, as well as further costs,
                     expenses and disbursements of this action, as this Court
               may deem just and proper.

  Dated:       New York, New York
               June 8, 2016

                                    Respectfully submitted,


                                    By:   u*{tstu
                                    Edward B. Geller, Esq.(EG9763)
                                    Edward B. Geller, Esq., P.C., Of Counsel to
                                    M. HARVEY REPHEN & ASSOCIATES, P.C.
                                    15 Landing Way
                                    Bronx, New York 10464
                                    Phone: (9141473-6783
                                    Attomey for the Plaintiff ARNALDO ROJAS

  To:    Mercantile Adjustment Bureau, LLC
         165 Lawrence Bell Drive, Suite 100
         Williamsville, New York 14221
a-
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             (Via Prescribed Seruice)

             Clerk,
             United States District Court, Eastern of New York

             (For Filing Purposes)
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  EASTERN DISTRICT OF NEW       YORK                    CASE NO.:


  ARNALDO ROJAS,

                                  Plaintiff,

              -against-


  MERCANTILE ADJUSTMENT BUREAU, LLC,

                                  Defendant(s).




                                COMPTAINT

                    Edward B. Geller, esq., P.C., Of Counsel to

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                           Bronx, New York 14464
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